                                                               SIGNED.


                                                               Dated: October 31, 2018

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                                                              Paul Sala, Bankruptcy Judge
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 8                          UNITED STATES BANKRUPTCY COURT
 9                                   DISTRICT OF ARIZONA
10   In re:                                            Chapter 11 Proceedings
11   ARCTIC CATERING, INC.                             Case No. 2:18-bk-13118-EPB
12
                                 Debtor.             ORDER GRANTING EMERGENCY
13                                                   MOTION FOR ORDER
                                                     AUTHORIZING PAYMENT OF
14                                                   PRE-PETITION WAGES,
                                                     SALARIES, EMPLOYEE BENEFITS,
15                                                   AND RELATED ITEMS
16
17            The Court having reviewed and considered the Emergency Motion For Order

18   Authorizing Payment of Pre-Petition Wages, Salaries, Employee Benefits, and Related

19   Items (the “Wages Motion”) [DE 7], filed by Arctic Catering, Inc., debtor and debtor-in-

20   possession (the “Debtor”), the Declaration of David Gonzales in Support of the Debtor’s

21   Chapter 11 Petition and Emergency Requests for First Day Relief filed in support thereof,

22   and having considered the arguments presented in Court on October 29, 2018, and for

23   good and sufficient cause shown that immediate relief is necessary to avoid immediate and

24   irreparable harm to the Debtor and the estate, IT IS HEREBY ORDERED:

25            1.    The Wages Motion is GRANTED as modified herein;

26            2.    The Debtor is authorized to pay the Prepetition Compensation, 1 Prepetition

27   Benefits, and Expenses, to Employees up to, but no more than, the statutory limit set forth

28   in Sections 507(a)(4) and 507(a)(5), which limit currently is $12,850.00;

     1
         Defined terms used herein take the meaning ascribed to them in the Wages Motion [DE
 Case
    7].2:18-bk-13118-EPB       Doc 23 Filed 10/31/18 Entered 10/31/18 11:43:24           Desc
                                Main Document    Page 1 of 2
 1          3.     The Debtor is only authorized to pay the Expenses sought in the Wages
 2   Motion subject to the prior agreement of the Office of the United States Trustee;
 3          4.     Any payments to insiders are without prejudice to any party objecting to
 4   such payments on a final basis and/or seeking disgorgement of such amounts upon proper
 5   motion;
 6          5.     The Debtor is authorized and empowered to take all actions necessary to
 7   implement the relief granted in this Order;
 8          6.     The terms and conditions of this Order shall be immediately effective and
 9   enforceable upon its entry; and
10          7.     The Court retains jurisdiction with respect to all matters arising from or
11   related to the implementation of this Order.
12                               DATED AND SIGNED ABOVE.
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 Case 2:18-bk-13118-EPB       Doc 23 Filed 10/31/18 Entered 10/31/18 11:43:24            Desc
                               Main Document 2Page 2 of 2
